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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION


 19-63111-CIV-COOKE/HUNT
 19-63121-CIV-COOKE/HUNT
 19-63151-CIV-COOKE/HUNT
 ____________________________/


        GENERAL ORDER ON DISCOVERY OBJECTIONS AND PROCEDURES

        This matter is before this Court sua sponte. The Honorable Marcia G. Cooke,

 United States District Judge, referred all non-dispositive pretrial matters, including

 motions for attorney’s fees and costs and motions for sanctions in this case to the

 undersigned United States Magistrate Judge. See 28 U.S.C. § 636(b); see also S.D. Fla.

 Mag. R. 1. In order to efficiently and fairly resolve discovery disputes, the parties are

 hereby notified that the following rules apply to discovery objections before this Court. In

 addition, the procedure for filing discovery motions is set forth below. This procedure

 does not apply to any discovery motion currently pending before the undersigned, but

 shall apply to any motion filed after the entry of this Order.

   I.   Objections

           A. Specific Objections

        All objections to discovery requests must be specific. The parties shall not make

 generalized, vague, or boilerplate objections. Nonspecific objections do not comply with

 the Federal Rules of Civil Procedure or the Local Rules and will not be sustained by this

 Court. See Fed. R. Civ. P. 33(b)(4) (“The grounds for objecting to an interrogatory must

 be stated with specificity.”); Fed. R. Civ. P. 34(b)(2)(B) (“For each item or category, the

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 response must either state that inspection and related activities will be permitted as

 requested or state an objection to the request, including the reasons.” (emphasis added));

 S.D. Fla. L.R. 26.1(g)

            B. Objections Based Upon                Vague,   Overly   Broad,   and      Unduly
               Burdensome Requests

        Objections that state that a discovery request is Avague, overly broad, or unduly

 burdensome@ are, standing alone, meaningless and will be found meritless by this Court.

 See Josephs v. Harris Corp., 677 F.2d 985, 992 (3d Cir. 1982) (“[T]he mere statement by

 a party that the interrogatory was ‘overly broad, burdensome, oppressive and irrelevant’

 is not adequate to voice a successful objection to an interrogatory.”). In accordance with

 Part I.A of this Order, a party objecting on these grounds must explain the specific and

 particular way in which a request is vague, overly broad, or unduly burdensome.

 Additionally, if a party believes that a request is vague, the party shall attempt to obtain

 clarification prior to objecting on this ground.

            C. Objections Based Upon Scope

        If there is an objection based upon an unduly broad scope, such as timeframe or

 geographic location, discovery should be provided as to those matters within the scope

 that is not disputed. For example, if discovery is sought nationwide for a ten-year period,

 and the responding party objects on the grounds that only a five-year period limited to

 activities in the State of Florida is appropriate, the responding party shall provide

 responsive discovery falling within the five-year period as to the State of Florida.




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           D. Objections Based Upon Irrelevant Requests and Requests Not
              Reasonably Calculated to Lead to Admissible Evidence

       In accordance with Part I.A of this Order, an objection that a discovery request is

 irrelevant and/or not reasonably calculated to lead to admissible evidence must include a

 specific explanation describing why the request lacks relevance and/or why the

 information sought is not reasonably calculated to lead to admissible evidence. The

 parties are reminded that the Federal Rules of Civil Procedure allow for broad discovery

 that need not be necessarily admissible at trial.        See Fed. R. Civ. P. 26(b)(1);

 Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 350–51 (1978).

           E. Formulaic Objections Followed by an Answer

       The parties shall not recite a formulaic objection followed by an answer to the

 request. Unfortunately, it has become common practice for a party to object on the basis

 of any of the above reasons, but then state Anotwithstanding the above@ and nevertheless

 respond to the discovery request, subject to or without waiving such objection. This type

 of objection and answer preserves nothing and serves only to waste the time and

 resources of the parties and this Court. Further, such practice leaves the requesting party

 uncertain as to whether the question actually has been fully answered or whether only a

 portion of the question has been answered.

           F. Objections Based Upon Privilege

       In accordance with Part I.A of this Order, generalized objections asserting

 attorney–client privilege or work-product doctrine are also insufficient. Local Rule 26.1

 requires objections based upon privilege to identify the specific nature of the privilege

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 being asserted, the nature and subject matter of the communication at issue, and the

 sender and receiver of the communication and their relationship to each other, inter alia.

 The parties are instructed to carefully review this rule and to refrain from objections such

 as, AObjection. This information is protected by attorney-client and/or work-product

 privilege.@ If a general objection based on privilege is made without attaching a proper

 privilege log, the objection may be deemed to have been waived. See S.D. Fla. L.R. 26.1

   II.   Procedure

         The following procedures do not relieve parties of the requirements of any Federal

 Rule of Civil Procedure or Local Rule except as noted below.

            A. Meet and Confer

         Counsel must actually confer (either in person or via telephone) and engage in

 a genuine effort to resolve discovery disputes before filing discovery motions.

            B. Discovery Motions

         If, after conferring, the parties are unable to resolve their discovery disputes

 without Court intervention, the moving party shall file a motion requesting appropriate

 relief. The motion shall not exceed five pages in length. The moving party may attach

 as exhibits to the motion any materials relevant to the discovery dispute. For example, if

 the dispute concerns interrogatories, the interrogatory responses (which restate the

 interrogatories) should be filed with an indication of which interrogatories remain in

 dispute. The movant shall include in the motion a certificate of good faith that complies

 with S.D. Fla. L.R. 7.1(a)(3) and that specifically indicates the efforts that were made to

 resolve the dispute prior to filing the motion.


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           C. Responses to Motions

        The nonmoving party shall file a response to the motion, which is not to exceed

 five pages in length. The responding party may also attach as exhibits any materials

 relevant to the discovery dispute. The moving party shall file a reply to the response,

 which is not to exceed five pages in length. The moving party may only attach to the reply

 exhibits that are relevant to rebut the response.

        The parties shall notify chambers as soon as practicable if they resolve some or

 all of the issues in dispute. The Court will set a discovery conference on the issues

 presented if this Court deems it appropriate.

           D. Time for Filing

        Pursuant to Local Rule 26.1(g), the motion shall be filed within thirty (30) days of

 from identified dates. The response shall be filed on or before the fifth business day

 following the date the motion was filed. The reply, if any, shall be filed on or before the

 third business day following the filing of the response.     The time period for filing a

 response or reply will begin to run on, and shall include, the first business day following

 the filing of the motion or response. For example, if the motion is filed on a Monday, the

 response shall be filed by the following Monday. If the response is filed on a Friday, the

 reply shall be filed by the following Wednesday.

        For the purposes of calculating time per this Court’s discovery Order, Federal Rule

 of Civil Procedure 6(d) does not apply. To the extent that the docket reflects a different


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 time or date to respond or reply, the timeframes in this Order are controlling.



           E. Expenses, Including Attorney’s Fees

        This Court reminds the parties and counsel that if the motion is granted, Federal

 Rule of Civil Procedure 37(a)(5) requires this Court to award to the moving party all

 reasonable expenses incurred in making the motion, including attorney’s fees, absent an

 exception.

 THIS COURT MAY DECLINE TO CONSIDER ANY FILING THAT DOES NOT COMPLY
 WITH THIS ORDER.

        DONE AND ORDERED at Fort Lauderdale, Florida this 6th day of January 2020.




                                           _____________________________________
                                           PATRICK M. HUNT
                                           UNITED STATES MAGISTRATE JUDGE



 Copies furnished to:

 The Honorable Marcia G. Cooke

 All counsel of record and/or pro se parties




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